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 7
 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                             2:15-CR-00140-MCE
12                   Plaintiff,
                                                           FINAL ORDER OF FORFEITURE
13           v.
14   RAFAEL PAHUA-MEJIA,
15                   Defendant.
16
17           WHEREAS, on October 14, 2016, this Court entered a Preliminary Order of Forfeiture pursuant

18 to the provisions of 21 U.S.C. § 853(a), based upon the plea agreement entered into between plaintiff
19 and defendant Rafael Pahua-Mejia forfeiting to the United States the following property:
20                   a. Approximately 32,870.00 in U.S. Currency.

21           AND WHEREAS, beginning on October 15, 2016, for at least 30 consecutive days, the United

22 States published notice of the Court's Order of Forfeiture on the official internet government forfeiture
23 site www.forfeiture.gov. Said published notice advised all third parties of their right to petition the
24 Court within sixty (60) days from the first day of publication of the notice for a hearing to adjudicate the
25 validity of their alleged legal interest in the forfeited property.
26           AND WHEREAS, the United States sent direct written notice by certified mail to the following

27 individuals known to have an alleged interest in the above-described property:
28                       a) Alfredo Duarte
                                                           1
29                                                                                     Final Order of Forfeiture
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 1                      b) Sean Steven Lopez
                        c) Enrique Pahua
 2                      d) Maria Ermilia Cervantes-Rangel
 3          AND WHEREAS, no third party has filed a claim to the subject property and the time for any

 4 person or entity to file a claim has expired.
 5          Accordingly, it is hereby ORDERED and ADJUDGED:

 6          1.      A Final Order of Forfeiture shall be entered forfeiting to the United States of America all

 7 right, title, and interest in the above-listed property pursuant to 21 U.S.C. § 853(a), to be disposed of
 8 according to law, including all right, title, and interest of Rafael Pahua-Mejia.
 9          2.      All right, title, and interest in the above-listed property shall vest solely in the name of the

10 United States of America.
11          3.      The U.S. Marshals Service shall maintain custody of and control over the subject

12 property until it is disposed of according to law.
13          IT IS SO ORDERED.

14 Dated: March 21, 2017
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29                                                                                        Final Order of Forfeiture
